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                         20                    UNITED STATES DISTRICT COURT FOR THE
                                                  CENTRAL DISTRICT OF CALIFORNIA
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                                Declaration of Barbara U. Uberoi In Support of Application to File Under Seal Unredacted Documents
                                Containing Confidential Information
                                T.P., et al. v. Walt Disney Parks & Resorts US, Inc.                         Case No. 15-CV-5346-R
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                          1    T.P., et al.,                                       )   Case No.: 15-cv-5346-R
                                                                                   )
                          2                    Plaintiffs,                         )   AMENDED DECLARATION IN
                          3                                                        )   SUPPORT OF UNOPPOSED
                                       v.                                          )   APPLICATION TO FILE
                          4                                                        )   UNDER SEAL UNREDACTED
                          5    WALT DISNEY PARKS AND                               )   DOCUMENTS CONTAINING
                               RESORTS U.S. INC.,                                  )   CONFIDENTIAL
                          6
                                                                                   )   INFORMATION
                          7                    Defendant.
                          8                                                    /       Hon. Manuel L. Real

                          9
                         10                       DECLARATION OF BARBARA U. UBEROI
                         11           I, Barbara U. Uberoi, declare and state as follows:
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                                      1.       I am counsel for the Plaintiffs in the above-captioned matter.
                         13           2.       I respectfully submit this declaration in support of the unopposed
                         14    application to file under seal unredacted documents containing confidential
                         15    information.
                         16           3.       Pursuant to Local Rule 79-5.2, Plaintiffs apply concurrently herewith
                         17    for leave to file under seal an unredacted version of their memorandum of law in
                         18    opposition to Defendant’s Motion for Summary Judgment [Doc. 303-1] and their
                         19    statement of uncontroverted facts and conclusions of law (collectively,
                         20    “Motions”), along with exhibits cited therein. Defendant, Walt Disney Parks and
                         21    Resorts U.S., Inc. (“Disney”) does not oppose this Motion. As for Plaintiffs,
                         22    J.A.S. and J.F.S., consistent with Local Rule 7-3, I contacted J.F.S. by phone on
                         23    April 15, 2019, informing him that we intended to file this application to file under
                         24    seal, and asked if he had any objection. J.F.S. stated that he would not oppose the
                         25    motion.
                         26           4.       Plaintiff’s Motions and supporting exhibits reference documents and
                         27    information that identify the Plaintiffs or contain information that is considered
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                          1    confidential, proprietary, or trade secrets.              Because Plaintiffs’ Motions and
                          2    supporting exhibits contain or reference such confidential information, Plaintiffs
                          3    apply for an Order permitting Plaintiff to file the unredacted Motions under seal,
                          4    and will file public versions of these documents with the minimum redactions
                          5    necessary to maintain the confidentiality of this information.
                          6           5.      On August 19, 2016, the Court entered a protective order that governs
                          7    the treatment of all confidential documents produced and information disclosed in
                          8    this matter (“Protective Order”) [Doc. 76]. The parties have exchanged fact and
                          9    expert discovery (including interrogatory responses, document production, and
                         10    expert reports) and have taken several depositions. Both parties have designated
                         11    certain of these documents and materials as “Confidential” or “Highly
                         12    Confidential” in accordance with the Protective Order.
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                         13           6.      Pursuant to L.R. 79-5.2, Plaintiffs submit this declaration to establish
                         14    good cause for permitting certain material to be filed under seal and to
                         15    demonstrate compelling reasons why the presumption of public access in civil
                         16    cases should be overcome in this case with respect to limited categories of
                         17    information.
                         18           7.      Attached hereto as Exhibit “A” is a list of documents and their
                         19    descriptions which Plaintiffs seeks to file under seal.
                         20           8.      As further explained below, the sealing of these documents is
                         21    necessary “because they contain private and proprietary information of the parties,
                         22    which outweighs the public’s common law right of access to judicial records.”
                         23    A.L. v. Walt Disney Parks & Resorts U.S., Inc., Case No. 6:14-cv-01544, Order at
                         24    5 [Doc. 152]; The disclosure of this information could harm Plaintiffs who have a
                         25    privacy interest in not having their identities and personal information disclosed
                         26    publically as well as cause Walt Disney Parks & Resorts U.S., Inc. economic harm
                         27    or place it at a competitive disadvantage.
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                          1           9.      Plaintiffs’ unredacted Motions should be filed under seal because
                          2    they contain references to and excerpts from documents and materials that have
                          3    been designated “Confidential” or “Highly Confidential.” These references and
                          4    excerpts are essential to the Plaintiffs opposition because they help form the
                          5    factually basis supporting their legal arguments. The unredacted exhibits should
                          6    be filed under seal because they contain confidential, proprietary information,
                          7    including but not limited to Plaintiffs’ identities and health information.
                          8           10.     Filing these documents under seal is the only way to provide the
                          9    Court with access to the information in the documents while still protecting the
                         10    confidentiality of that information and complying with the parties’ obligations
                         11    under the Protective Order. The Plaintiffs are not aware of a less restrictive
                         12    alternative to sealing the unredacted Motions and its accompanying exhibits, and
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                         13    the redactions are limited in scope.
                         14           11.     The Plaintiffs hereby propose and join with Defendant’s proposal that
                         15    the unredacted Motions and exhibits remain sealed until the conclusion of the case
                         16    and any appears therefore, or until such time as the information referenced therein
                         17    is declassified as “Highly Confidential” or “Confidential,” whichever is later:
                         18                  ARGUMENTS AND AUTHORITEIS SUPPORTING
                         19                          APPLICATION TO FILE UNDER SEAL
                         20           12.     In considering an application to seal, the Court must balance the
                         21    parties’ interest in keep information confidential against the public’s interest in
                         22    accessing court documents. In re Midland Nat’l Life Ins. Co. Annuity Sales
                         23    Practices Litig., 686 F. 3d 1115, 1119 (9th Cir. 2012). The common law right of
                         24    access to public documents is not absolute and can be overridden with sufficiently
                         25    compelling reason. See Foltz v. State Farm Mut. Auto. Ins. Co., 331 F.3d 1122,
                         26    1135 (9th Cir. 2003).
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                          1                                              Exhibit “A”
                          2      EX.                            NAME                                     DESCRIPTION
                          3       1.       Plaintiffs C.M.H.’s and H.A.H.’s                     Memorandum of Law
                          4                Opposition to Defendant’s Motion for
                          5                Summary Judgment [Doc. 314-1]
                          6       2.       Plaintiffs C.M.H.’S and H.A.H.’s                     Objections with
                          7                Objections to Defendant’s Evidence in                incorporated Memorandum
                          8                Support of its Separate Statement of                 of Law
                          9                Uncontroverted Facts in Support of
                         10                Opposition to Motion for Summary
                         11                Judgment [Doc. 314-2]
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                                  3.       Plaintiffs C.M.H.’s and H.A.H.’s                     Statement of
                         13                Statement of Uncontroverted Facts in                 Uncontroverted Facts
                         14                Opposition to Defendant’s Motion for
                         15                Summary Judgment
                         16       4.       Notice of Filing Declaration of H.A.H.               Declaration of H.A.H.
                         17                in Support of Opposition to
                         18                Defendant’s Summary Judgment
                         19       5.       Notice of Filing Relevant Excerpts of                Deposition Excerpts of
                         20                the Deposition of H.A.H. in Support of               H.A.H.
                         21                Opposition to Defendant’s Summary
                         22                Judgment
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